 Case No. 1:16-cv-03079-MSK-NRN Document 60-5 filed 05/04/18 USDC Colorado pg 1 of
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                                                                                                                               3n2D017 l2:29:28PM
                                       PARK COUNTY SHERIX'F'S OF'F'ICE                                                            ORI #: CO0470000
 STATUS: ACTII/E - APPROI/ED                                                                                               OWNER: HANNING N 3682
                                                  OFFENSE REPORT 2016000052
  Report Tlpe                      Report Datdllme                 Reporting OlJicer
   OFFENSE REPORT                  0112012016                      IIANNING N 3682
  Incidenl Iype                    lncident Dabflime               Originator (if dffirent)
  MISCELLANEOUS                    Oln0B0l6 14:15:00               HANNINGN 3682
  Occ urre d Fr om Da te/Time      Occurred To Date/Tlme           Affesting Wicer

  Location                         Address                                                          Beat               Location Grit
  U.S. HIGIIWAY 285 MP
  226

  JEFTCO ATTEMPTED TO CONTACT IN PARI( COt'Nry. SUSPECT ELI'DED




  7!pe       Section            Description                                                Committed By                       Counts   UCR     NCIC
  M          lE-E-104           OBSTRUCTING A PEACE OtrFTCER                               I.WIRTH, MARTINT                      I     902       4E99
  T          424-1413           ELUDING OR ATTEMPTING TO ELT'DE A                                                                I     5405      9IA
                                POLICEOFMCER
  T          42-4-t409          COMPULSORY INST'RANCE - PENALTY.                                                                 I
                                REPEAL
  M          42-2-r38(l)(A)     (DENTED) DROVE MOTOR VEEICLE WHEN                                                                I
                                LICENSE T]NDER RESTRAINT


                                                              Involved
 Party # Party TJtpe
      I      NVOLVEDPARTY
                                        Party Name
                                        STALTEB.STEVEN
                                                                                     I     Bwiness DOB                         Age

 Gender Race                            Hair                Eyes             Height Weight                 DL#                State

 Home Address                                        City                    State        zlp              Phone

 Business Address                                    CiU                     State        Zip              Bus.Phone
 2OO JEFFERSON COTJNTY PARKWAY                       GOLDEN                  co           80401            (303)277-O2tt
 YICTTMNiA
  MCTIMTYPEI INDTVIDUAL
 Party # Party $p:e                    Party Name                                  Q Business DOB                              Age
   2     $TVOLVED PARTY                MACDONALD. GRANT
 Gender Race                           Hair                 Eyes             Height       tleight        DL#                  State

 Home Address                                     cia                        State        Zip            Phone

 Bustness Address                                 cw                         State        Zip              Bus.Phone
 2OO JEFFERSON COI]NTY PKW'Y                      GOLDEN                     co           80401          (30s)277-0211
 vtc't'lM INta
 IVTCTIM TYPE] INDryIDUAL




2016000052                                                                                                                               Page I of5
                                                                            Exhibit No.
                                                                             Deponent: l,rft<.t
                                                                                                nqt
                                                                             Date/RPR: Lr
                                                                                            -B        t\                    PCSO 000997
                                                                                  Hunter + Geist, lnc'


                                                               EXHIBIT 5
     Case No. 1:16-cv-03079-MSK-NRN Document 60-5 filed 05/04/18 USDC Colorado pg 2 of
                                          15




                                                                      Susoects - Offenders
    Derson L Person Type           Person Name                                                    Date of Birth         Age
      I        CITEiRELEASE        WIRTH,MARTINT                                                  stt4n951               58
     Sex       Race                              Ethnicity                                        DL#                   State
     M         WHITE                             NOT OTHISPANIC ORGIN                             922544026              CO
                                                 Height          Weight                     .ssff
     BROWN                                       6^0'                      200              t47-56-7t91
     Home Address                                          City                     State   zip               Home Phone
     36IRIS DR                                            BAILEY                    co      80421             (303) 816-r0s4
     Entployer Name                                                                         Ocatpation
     SDLT'EMPLOYED                                                                          PROGRAMMER
     Business Address                                         cia                   State   Zip        Phone
                                                                                                              (303) 8r6-10s4
     CRIMECOMMITTED
     ITYPEI M
     lsBcrroN/suBsEcrroNl 42-2-r38(1xA)
     IDESCRTPTTONI @ENTED) DROyE MOTOR VEHICLE WHEN LICENSE UNDER RESTRATNT
     [STATUTE CODE / IDI STATE
     tcot NTsl I
    CRTME COMMIITUI)
     ITYPEIT
     lsEcTIoN/suBsEcTIoI{ 42-4 -t409
    IDESCRTPTIONI COMPTTLSORY INST RANCE - PENALTY - REPEAL
    ISTATUTE CODE / IDI STATE
    lcouNTslr
    CRIMECOMMITTED
    [TYPE] T
    ISECTION/.STJBSECTTONI    42 -4-14 13

    lDESCRrprroNl ELT DING OR ATTEMPTING TO ELUDE A POLICE OFI'ICER
    ISTATUTE CODE /IDI STATE
    ICOI]NTSI1

    ITYPEIM
    lsECTroN/suBsEcrIoNI 18-E-Io4
    [DESCRIPTIONI OBSTRUCTING A PEACE OFFICER
    [STATUTE CODE/IDI STATE M2




I                                                               Vehicle Data
    NO.    Status                  License Number                   License Stqte   MakdModel
     I     LET'TATSCENE            SOIQFK                           co              tr'oRD F-250
                                                                                                                               To
    PICKT'P                        WHITE                            199s            IFTIDO6GOSKA5345O
                                                   s
    WM,TH,MARTINT                           36IRIS DR                                             BAILEY                        co            8042t
    Home Phone                              Yehicle Storage                 Insured By                                          Insurance #
    (303) 816-1054




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                                                                                                                       PCSO 000998

                                                                EXHIBIT 5
 Case No. 1:16-cv-03079-MSK-NRN Document 60-5 filed 05/04/18 USDC Colorado pg 3 of
                                      15




                                                 Additional Case Data
 Case NO.                   Title                                  Case Ilpe                                     Court File Date
 20160000s2
 Case Group                         OCA No.            Case Manager                                              Assign Date
                                                       HANNING, MCHOLAS A 3682                                   0211412016 13t53:
 Crime Report No.                                Lead Proceantor

 Copies Sent To               Case Status                     Clearance                            Disposition
                              ACTIVE
 Raiewed By                                                   Revieutd By Date

 Tonsolidation File No.             Proseculor                            Fw'ther Action




  No.      Desciption                                                                  Author
           2016000052 uoF                                                              IIANI{ING, NICHOLAS A
           2016000052 N                                                                IIANNING, NICIIOLAS A




2016000052                                                                                                          Page 3 of5



                                                                                                     PCSO 000999

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 Case No. 1:16-cv-03079-MSK-NRN Document 60-5 filed 05/04/18 USDC Colorado pg 4 of
                                      15



                                                                                                                               3/221201'l l2:29:28PM
                                    PARK COUNTY SIIERIf,'F"S OF'F'ICE                                                            ORI #: CO0470000
 STATUS: ACTIYE - APPROYED                                                                                                 OWNER: LEFFLERD 3686

                                  SUPPLEMENTAL OFTENSE REPORT 2016000052.1
    Report Type                 Report DatdTime                   Reporting Ofiicer
    OFTENSE REPORT              0tn6n0rc                          LEFFLER D 3686
    Incldent'lype               Incident Dafun irne               Ori ginator ( tJ dUJ e,e nt)
    IVIISCELLANEOUS             0L17012016 l4rl5r00               LEFFLERD 3686
    Ocanred From Date/Time      Occurred To Date/Time            Arresting Oflicer
    0112012016 14:15:00         0112012016 16100100              TIANNING N 3682

    36IRIS

    AGENCY ASSIST WITII JEFFCO



                                                                    Crimes
    TyPe     Section         Deso'iption                                                   Conmitted By                        Counts   UCR     NCIC
    T        42-2-t0tl       DROYE YETIICLE WITHOUT A YALII)                               I.WIRTH,MARTINT                          I
                             DRTVERS LTCENSE
  M          42-4-t409.5     FATL TO PROVIDE PROOF OF INSURANCE                                                                     I
  T          42-4-14t3       ELUDING ORATTEMPTINC TO ELT]DEA                                                                            s405      9rA
                             POLICE OFT'ICER



                                                                 Suspects - Offenders

'erson * Person I)tpe         Person Name                                                              Date of Birth         Age
  I      CITE/RELEASE         WIRTH,MARTINT                                                            511411957              58
Sex        Race                             Ethnicity                                                  DL#                   State
M          WHITE                            NOT OF EISPAITIC ORGIN                                     922s44026              co
                                            Height            Weight                             ,s$r
BROWN                                       c0'                       200                        147-56:n9t
Home Address                                             cia                      State          zip               Home Phone
36 IRIS DR                                              BAILEY                    co             80421             (303) 816-10s4
Employer Name                                                                                    Occapation
SELFEMPLOYED                                                                                     PROCRAMMER
Business Address                                         City                     State          zip               Phone
                                                                                                                   (303) 816-10s4
CRIME COMMIT'IUI)
JTYPEI T
ISECTION/SI BSECTIONI 42-4-1413
IDESCRIPTIONI ELIIDING OR ATTEMPTING TO ELUDE A POLICE OTT,.ICER
[STATUTE CODE/ ID] STATE
ICOT'NTSI I
CNMECOMMITTED
[TYPEI M
[sEc,TroN/suBsEcrIoN] 42-4-7409,5
IDESCRTPTIONI FArL TO PROVIDE PROOF OF INSUBANCE
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ITYPE] T
ISEC.TIoN/SITBSECTIONI 42 -Lt0tt
IDESCRIPTIONI DROVE VEHICLE WITHOUT A VALID DRTVERS LICENSE
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 Case No. 1:16-cv-03079-MSK-NRN Document 60-5 filed 05/04/18 USDC Colorado pg 5 of
                                      15




 C I RC UMSTA N C E A DDITI O N A L
 T]NABLE TO DETERMINE/NOT ENOUGH INFORMATTON
 CRIME
 RURAL
 LEYEL OF FORCE
 F'ORCE




 Case NO.                 Title                                  Case Type                                    Court File Date
 20160000s2.1
 Case Group                       OCANo.             Case Manager                                             Assign Date
                                                     LEFFLER"DAVIDG 3686                                      0ll26li20l6 7lt36t
 Crime Report No.                              Lead Procecutor

 Copies Sent To             Case Stahts                     Clearance                           Disposition
                            ACTIVE
Reviewed By                                                 Reviewd By Date

jonsolidation File No.            Prosecutor                            Further Action




                                                  Norrafive Data

 No.      Description                                                                Author
          20I6000052.1N                                                              LEFFLER, DAVID G




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                                                                                                   PCSO 001001

                                                     EXHIBIT 5
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                                             PARK COUNTY SIIERTFF'S OFFICE
                                                     CONTINUATION SHEET                                Case Report Number

                                                                                                         2016000052
           Initial Offense Clnssifi cation            Subject                                          Date ofReport

                Obstructing a Peace Officer                      Martin T. Wirth                          0u20t2016
      OnJanuary20n,2ol6atabout2:l5PMlwasdispatchedtotheLoaf-n-Juggasstation                   atlT3BulldoggerLane
      which is near Bailey in the County of Parh State of Colorado, I was told I the Jefferson County Sheriff s Office
      needed to meet me there for an attempt to locate,

      I arrived at the Loaf-n-Jug and waited for a deputy fi'om JCSO to arrive, Detective Leffler arrived and waited on
      scene with me. A few minutes later I heard a siren activate. I looked up to Park County Road 43A and saw a
      marked JCSO vehicle accelerate north on Park County Road 43A with its emergency lights active. Detective
      Leffler and I left the Loaf-n-Jug, activated our emergency lights and siren, and drove to catch up to the JCSO
      deputy, who was identified as Deputy Grant Macdonald.

       We traveled north onto Park County Road 43, which is a 35 MPH zone, and then turned West onto Pine Drive
       which is a 25 MPH zone. When we tumed onto Pine Drive I could see Deputy Macdonald chasing a white Ford
      pickup in the 200 block. At the time I was familiar enough with the Jefferson County Sheriffs Office pursuit
      policy to understand they did not pursue a vehicle unless the driver was wanted for a violent felony or had
      commiued or was about to commit a violent felony. We got behind Deputy Macdonald, Detective Leffler
      inforrned dispatch we were in a pursuit. Our speeds were about 35-40 MPH. As we came the three way
      intersection at Pine Drive, North Pine Drive, and South Pine Drive, the suspect vehicle continued through the
      intersection and stop sign onto South Pine Drive without slowing down. We continued untii we came to his
      Drive and turned south. The suspect vehicle then turned into the driveway of 36 kis Drive and stopped halfway
      up the driveway.

      I saw the Deputy Macdonald get out of his vehicle and point his pistol at the vehicle. I got out of my vehicle,
  un-holstered my pistol, and ran up to the passenger side of the Deputy Macdonald's vehicle with Detective
  Leffler. Deputy Macdonald was giving loud and clear commands forthe suspect, Martin T. Wirth @OB:
   051L411957), to show his hands and to get on the ground, I kept my pistol pointed in the dfuection of Wirth's
  vehicle and the house up the hill. I looked over and I could see Wirth standing outside of his door facing
  Deputy Macdonald. Vfirth was dressed in a heavy brown jacket with the front unzipped. He had his arms down
  to his side and I could not see his hands because the truck was obscuring my vision of them.

 After a few moments Wit'th turned away from Deputy Macdonald and began to walk towards his house. As
 Wirtl was walking away he was yelling at us but I do not remember what he was saying. Deputy Macdonald
 began to run after him. I holstered my pistol and ran up the hill along the passenger side of Wirth's vehicle.
 Once I got around the vehicle I could see Wirth did not have any weapons in his hands. As Deputy MacDonald
 came near Wirth, Wirth turned towards Deputy Macdonald. Deputy Macdonald grabbed Wirth by his right arm.
 Wirth pulled back and away from Deputy Macdonald, began screaming, and had his left hand clenched into a
 fist. I sprinted toward Wirth, wrapped both of my arms around his body and free arm, and tackled him to the
 ground. The force of the impact broke my sunglasses and caused a scrape on.my forehead and right cheek.
 Wirth landed on his back.


       Officrr'! Sig[tor. & Nuoblr                                       Sup!rvis's If,itiak & D.te
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:il    Corporal N. Hanning #3682                                                                      Page 1 of3
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                                                        EXHIBIT 5
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                                               PARK COUNTY SIIERIFF'S OFFICE
                                                       CONTINUATION STIEET                                 Case Report Number

                                                                                                             20I"6000052
             Initial Offense Classifi cation            Subject                                            Date of Report

                  Obstructing a Peace Officer                      Martin T. Wirth                            0u20t2016
          Once Wirth was on the ground Deputy Macdonald told us to roll him over. We rolled Wirth over his left side
         and onto his stomach. V/irth was still screaming at us and resisting. Deputy Macdonald kept giving Wirth
         commands to stop resisting. I grabbed Wirth's right arm and brought it behind his back. Wirth kept tying to
         muscle his ann away fi'om me. I noticed the nails on his finger were about a half inch in length from the end of
         his fingertips which were capable of inflicting an injury. Wirth kept relaxing and clenching his fist as I was
         trytng to manipulate his hand and arm. I also noticed a pocket knife in a pocket on'Wirth's right leg. I asked
         Deputy Macdonald if he wanted me to use my Taser on Wirth and he said no.

         I re-positioned myself around Wirth so my knee pinned his right shoulder down to gain leverage on his right
         arm and to maintain control over him. I never pushed his arm past a 90 degree angle. Deputy Macdonald and
         Detective Leffler secured Wirth's left arm in a handcuffthen helped me secure his right arm in the other cuff.
         Once Wirth was in handcuffs Deputy Macdonald stood up to use his radio. I kept my knee tightly placed on
         Wirth's shoulder, After Wirth was in handcuffs he was on the ground for no more than 30 seconds before we
         assisted him up. Once we stood him up I heard a lady on lris Drive yell "Marty are you ok?" Wirth yelled back
         by sayrng "No, They're illegally arresting me. Call the ACLU." The woman on the street walked away.
         Deputy Macdonald and I escorted Wirth to Deputy Macdonald's patrol vehicle. Wirth kept placing his feet out
         in front of him.

        Once Deputy Macdonald cleared out his backseat we tried to get Wirth to sit in there but he refused and was
        yelling at us. I had to grab Wirth underneath his legs and lift them into the vehicle to get him seated. Wirth still
        refused to place his legs in the vehicle, Wirth then yelled at us by saying "You motherfuckers broke my teeth."
        We asked Wirth what he meant. Wirth exclaimed "You fucking broke my teeth" and tlen he opened his mouth.
        Whth had three missing teeth on his bottom jaw. I did not see any blood. Wirth explained they were denture
        teeth. I asked Wirth to please place his feet inside of the vehicle. Wirth complied and then we shut the door.

        Sergeant Steven Stalter with the Jefferson County Sheriff s Office arrived on scene and met with me, Deputy
    Macdonald, and Detective Leffler. Sergeant Stalter asked Deputy Macdonald what happened. Deputy
    Macdonald explained he was coming to ask V/irth about some statements he made at an insurance company.
    Accordingto Deputy Macdonald he got a report Wirth attempted to get insurance for his vehicle. The insurance
    company refused to sell him insurance because he did not have a valid license. As Wirth was walking out he
    stated he was going to get a gun and "shoot the first cop he sees". Deputy Macdonald said as he was coming to
    meet us at the Loaf-n-Jug he saw Wirth driving in front of him on U.S, Higbway 285 nem Rolland Drive which
    is in Park County. Deputy Macdonald said he attempted to make a traffic stop because he knew Wirth did not
   have a valid license and was driving without insurance.

   Sergeant Stalter asked if a use of force was involved. We told him there was. Sergeant Stalter asked if Wirth
   was injured and we told him we could not see any injuries and Wirth was saying he was missing teeth. Sergeant
   Stalter also asked if the Wirttr eluded us or if he failed to yield to us. We recounted Wirth's driving actions to
   Sergeant Stalter. Sergeant Stalter said it sounded more like he failed to yield to us. I do not remember if I


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l:litl    Corporal N. Hanning #3682                                                                       Page 2 of3
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                                                 PARK COUNTY SITERTFF'S OFFICE
                                                        CONTINUATION STIEET                           Case Report Number

                                                                                                        2016000052
               Initirl Offense Classirics tlon           Subject                                      Date of Report
        i:il
                   Obstructins a Peace Officer                     Martin T. Wirth                       01t20t2016

        agreed with him or not. Sergeant Stalter said he was going to talk to his Lieutenant to see what charges if any
        his Office was going to make.

        Sergeant Stalter went to go speak with Wirth. After Sergeant Stalter spoke with Wirth I helped him look for any
        missing teeth in the snow where V/i*h was handcuffed. We did not find any teeth. I noticed Sergeant Dave
        Wohlers was parked at the end of the driveway. Detective Leffler and I went to inform him what was going on.
        Sergeant Stalter came back and told us they would not be pursuing any charges against Wirth. Sergeant
        Wohlers told me to get started on a swnmons for Wirth.

        I went to my vehicle to start fifling out a summons. I looked up at Deputy Macdonald's vehicle and heard
        Detective Leffler tell me to start medical and then he patted his chest. I got on my radio and told dispatch to
        start medical for the suspect because of heart problems. I got out and went over to !t/tth. Detective Leffler and
        I took Wifth out of handcuffs and tried to sit him down. Instead Wirth leaned forward and lowered himself to
        the ground and grabbed a leafless bush. Wirth said he didn't want any help. I stayed with Wirth while
        Detective Leffler went to speak with Sergeant Wohlers.

      Deputy Macdonald came over to me and Wfuth. Wirth began asking us to "shoot him in the head". Deputy
      Macdonald told Wirth that was not going to happen. Once the paramedics an{ved on scene I leftto go inform
      Sergeant Wohlers about Wirth's suicidal statements. Sergeant Wohlers said if medical will not take him then
      we will still release him on a summons. The paramedics medically eleared Wirth and then they left. I filled out
      a sufilmons and went to serye it to Wirth who was still seated on the ground. I crouched down so I was eye level
      with Wirth and explained the summons to him. Wirth signed the summons promising to appear. Deputy
      Macdonald and I asked Wirth if he wanted help standing and he said 'No. This is my environmenf'and then
      grabbed a handful of snow. We all cleared the scene once Wirth stood up. Wirth was given a surtmons for the
      following chatges:


               1) C.R.S. 42-2-138 (1) (a), driving under restraint, a misdemeanor.
               2) C.R.S. 42-4-MA9 (1), compulsory insurance, a class I misdemeanor traffic offense.
               3) C.R,S. 42-4-L413, eluding or attempting to elude a peace officer, a class 2 misdemeanor traffic
                    offense.

               4) C.R.S. 18-8-104 (1) (a), obstructing a peace officer, a class 2 misdemeanor.


  End of Report-Cleared by arrest/summons



           O6cr't Sigrrture & Numbcr                                       SuplMsr's Iniirb & D8tc
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i1:,1      Corporal N. Hanning #3682                                                                 Page 3 of3
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                                                            EXHIBIT 5
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                                             PARK COTINTY SHERIFF'S OFFTCE
                                                                           Case
                                               USE OF NON.LETHAL FORCE Number                                                    20160000s2
     Nature
     of Call
                      Eluding/Agency Assist                                                           0t/2012016                       2:15 PM
     Subject's
                      Martin T. Wirth                                                    Race W              Sex M        DoB oslt{n9s7
     Reason for          x   Necessary to effect alrest             x   Necessary to defend officer                To prevent violent felony
     Force                   Necessary to defend another                To resh'ain for   ect's                    Other
          Was                       Was         rendered                   Where rvas         Paramedics Responded
                Yes          No                Yes         x     No        subject treated?                               Physician:

     At time of arrest             Under the influence of alcohol                       Under the influence of a chemical drug
     was su                                  under the influence ofalcohol                        under the influence of a chemical
                                                      Number of subjects that resisted;             Number of offi cers present:
       x         Psychological Intimidation:
                 Verbal Thleats:
      x          Passive Resistance: A                         to rvalk
      x          Defensive: Pulled                   from               and had clenched fists
                 Active
                                  Active

                VERBAL DIRECTION
                EMPTY HAND CONTROL:
      x         Muscling Techniques: Bent arm right behind back 90 degrees or less in order to restrain with                                               i;I

                                               handcuffs.                                                                                                 .'{
                                                                                                                                                           :.11

                Joint Locks:
                Pressure Points: (Location)
     x          Hand Strike: (Location)                     tackled
                Leg / Foot Strike: (Location)
                Neck Restraint (Level Used)
                INTERMEDIATE WEAPONS:
                Chemical Agent: (Type)
       Electrical Control Tool:
                         Location of Strike:
    Comments:  See Report. Suspect was taclded to the ground. Suspect claimed missing denture teeth.                                                      sf
                                                                                                                                                         i-..-.1
               Suspect had 3 missing teeth but unknorvn if the teeth were missing before incident.                                                        :.:i
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   Officer's Assigrunent:                  x         Uniform Patrol                           x     Assisting Another Officer / Agency
                                                     Pahol Supervisor                               Special Response Team
                                                     Investigator                                   Other
   Officer's Signature and Number CORPORAL N. HANNING #3682                     Supervisor's Int. and Rank         Date                 Time


Rev: 0l/04                                                                                                                               Form: PCSO-UF




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                                                                        EXHIBIT 5
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                       PARK COUNTY SHERTFF'S Otr'FICE




Rev: 01/04                                                            Form: PCSO-UF




                                                                PCSO 001006

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                                             PARI( COT'NTY SIIERIFF'S OFFICE
                                                       CONTINUATION SHEET                               Case ReportNumber

                                                                                                         2016000052.1
            Initial Offense Classllicntion             Subject                                          Date ofRcport

                  Obstructing a Peace Officer                      Wirth, Martin T                            ll20l20t6
        On January 20,2016I was at the loaf-n-jug in Bailey, County of Park, State of Colorado making phone calls
        and speaking with Deputy Hanning who was there to meet a Jefferson County Sheriff Officer for an agency
        assist. The Jefferson County SheriffDeputy was later identified as:

                                                     IIP Macdonald, Grant
                                                Jefferson County Sheriff Office

         After hanging up the phone I heard sirens coming from U.S. Hwy 285 and Park County Road 43A. I turned to
         see a Jefferson County SheriffOffice marked pickup with emergency red and blue lights on, following a white
         Ford pickup. The Ford was traveling west bound onto Park County Road 43A. It is and was at that time my
         understanding that Jefferson County's pursuit policy only allows pursuit for a driver wanted for a violent felony,
        just committed a felony, or was about to commit a felony. I activated my emergency red and blue lights along
        with my siren and followed behind the Jefferson County Sheriff Office vehicle while infonning Park County
        Commr:nications that I was behind the Jefferson County Sheriff Office vehicle. I called out our location and
        description of the Ford to communications as required. The white Ford pickup was later identified as:

                                                         1995 Ford F150
                                                         White in Color
                                                       License # 801QFK

     We followed the Ford pickup at 35-40 MPH, tuining left onto Pine Drive from Park County Road 43A. We
     continued to follow the Ford pickup onto South Pine Drive where it failed to stop at the three way stop sign
    which was located at Pine Drive, North Pine and South Pine. The Ford continued on South Pine until it reached
    Iris Drive where it made a left tum, and then an immediate right turn into the address of 36 his Drive. The
    Jefferson County Sheriff Office vehicle, myself and Deputy Haruring followed the Ford into the drive way
    where it stopped about half way up the drive way. I observed Deputy Macdonald exit his patrol vehicle and
    place the driver of the white pickup at gun point. I exited my unmarked pahol car and went around to the
    passenger side of the Jefferson County patrol car where I observed and heard Deputy Macdonald giving the
    driver loud verbal commands to show his hands and get on the ground. Seveml seconds later, the driver,
    ignoring Deputy Macdonald's commands tumed and started walking away toward the house at the end of the
    driveway. The driver was later identified as:

                                                S/Wirth, Martin T (511411957)

  I observed Deputy Macdonald holster his firearm and run to Wirth, gtabbing his arrn. Wirth tried to pull away,
  was screaming, and clenching his fists as he tried to continue toward the home. I then observed Deputy Hanning
  run toward Wirth who was sbuggling with Deputy Macdonald. When Deputy Hanning made contact, wrapping
  his arms mound Wirth's free arm and body, all tluee fell to the ground, Wifth landing on his back. I did not
  engage Wirth atthat time as I felt Deputy Macdonald and Deputy Hanning were in control of the situation.
  While all three were on the ground I obseryed Wirth tum over onto his stomach, tucking his anns under his
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                                            PARK COUNTY SHERIF'F'S OFFICE
                                                      CONTINUATION SHEET                               Casc Report Number

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                Obstructinq a Peace Officer                       Wirth, Martin T                          u20t2016
      body. I then observed Wirth continue to struggle as both Deputies toied to get Wirth's hands behind his back.
      During the struggle with Deputy Macdonald and Deputy Hanning I observed a knife in Widh's right pocket. I
      then assisted both Deputies by removing the knife from Wirth's pocket. Deputy Macdonald was then able to get
      Wirth's left arm behind his back where I also assisted by holding onto Wirth's Ieft hand until Deputy Hanning
      was able to get Wirth's right hand fiom under his body and behind his back. Deputy Macdonald with the
      assistance of Deputy Hanning and myselfplaced Wirth into handcuffs,

      Deputy Macdonald stood up to use his radio then assisted Deputy Haruring in helping Wifih to his feet. Once on
      his feet Wifih started yelling to a female who was on Iris Drive telling her to call the ACLU, stating "They'le
      anesting me illegally." Deputy Hanning and Deputy Macdonald assisted Wirth to Macdonald's vehicle while
      Wifih was stiff legged and refusing to walk byplacing his stifflegs in front of him.

      When Deputy's Macdonald and Hanning got Wffi to the patol car, Deputy Macdonald cleared a spot on the
      seat and asked Wirth to get in by sitting then pulling his legs in. Wirth who was still yelling refused to pull his
      feet into the patrol car after partially siuing. Deputy Hanning assisted Wirth by grabbing Wirth under his legs
      and lifling them into the patrol car, closing the door with V/irth inside.

     Deputy Macdonald stated to me after getting Wirth into the vehicle that Wirth had made the statement that his
     teeth were broken. I told Deputy Macdonald that he needed to check on Wirth and veriff that there were really
     teeth missing as I had not observed any blood coming from Wirth's mouth when Deputies helped Wirth up from
     the ground or while escorting him to the patrol car, After checking, Deputy Macdonald told me that Wirth was
     missing tll'ee teeth but did not have any blood coming from his mouth and did not have any injuries that he
     could see, or that Wirth may have, as Wirth only was complaining that his teeth were broken.

     Deputy Macdonald contacted his supervisor who responded to *re scene and was identified as Sergeant Steven
     Stalter. I explained to Sgt. Stalter the facts as I saw them and also explained that Martin may have lost some
     teeth. Sgt. Stalter and I went to the paftol vehicle to speak with Martin. When Sgt. Stalter asked Martin if he was
     ok or if he had any injuries, Martin stated that he was having chest pain, I asked Deputy Hanning to contact
     dispatch and ask to have medical respond to our location. While waiting for medical to respond Deputy
     Macdonald and Deputy Hanning unhand cuffed Martin who lowered himself to the ground.

 Sgt. Wohlers arrived on scene where I met with him and explained the situation. Sgt. Wohlers asked if Deputy
 Macdonald was going to charge Martin with any crimes. Deputy Hanning explained Deputy Macdonald would
 not be charging Martin but he would be charging for the traffic offences and obstructing a peace officer.

 While Deputy Hanning wrote his citation to Martin I cleared from the scene.

 On January 26,2016I went to the Nancy Staub State Farm insurance office for a follow up and met with a
 female identified as:

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       D. Leffler #3686                                                                                Page_l_ of_
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                     Obstructing a Peace Officer                    Wirth, Martin T                              112012016

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            I asked Nicollette if she would give me a voluntary written statement regarding what had happened with Marlin
            Wirth on WednesdayJanuary 20,2016.

        Nicollette in her ranitten statement (exhibit A), quoted Martin as saying "He will just go home and get his gun
        and drive around and shoot the next cop he sees."

        Later in the day after retuming to the Bailey Substation I contacted Sgt. Connor and explained that I had went to
        Conifer and obtained a written statement      fro*Iat        the State Farm office. I also explained what
        Nicollette had written in her statement.

        I have nothing further to report at this time.




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             D. Leffler #3686                                                                             Page   _l_ of
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   1. SUSPEGT IMAGE: WIRTH, MARTIN T <DOB> 05t1411957 <IMAGE DESCRIPTION> NIA




  1. SUSPEGT IMAGE: WIRTH, MARTIN T <EOB> 0511411957 <IMAGE DESCRIPTION> N/A




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                                        EXHIBIT 5
